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                       m THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division




   SCOTT BABIAK,individually and on behalf
   of all others similarly situated,

                          Plaintiff,
                                                             Case No. l:18-cv-352
           V.



    MIZUHO BANK,LTD.,

                          Defendant.


                                 MEMORANDUM OPINION


       Plaintiff, Scott Babiak, filed this putative class action on March 23,2018. In his

Complaint, Plaintiff alleges one count oftortious interference with contract against Defendant,

Mizuho Bank. Dkt. No. 1.


       This matter comes before the Court on Defendant's Motion to Dismiss for Lack of

Jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2) and Defendant's Motion to

Dismiss for Failure to State a Claim pursuant to Federal Rule of Civil Procedure 12(b)(6). Dkt.

No. 9. For the following reasons, the Court grants Defendant's Motion to Dismiss for Lack of

Jurisdiction. Because the Court lacks jurisdiction it declines to consider the Motion to Dismiss

for Failure to State a Claim.


                                         I. Background

       This case arises out ofthe actions that precipitated the collapse of Mt. Gox,an entity

which at one point claimed to be "the world's most established bitcoin exchange." Dkt. No. 1 f

8. Mt. Gox was based in Japan but had customers from all over the world. To participate in the

exchange, users would first create a Mt. Gox account. Id. ^ 9. Then,to begin trading on the
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exchange, users could either deposit bitcoins they already owned by transferring them directly

into their Mt. Gox accounts or deposit cash into their Mt. Gox accounts by wiring money to

Defendant, Mizuho Bank, a Japanese financial institution. M ^ 11. These wire transfers would

designate Mt. Gox as the beneficiary. Defendant as beneficiary's bank, and list the user's Mt.

Gox account number. M ^ 18. Defendant would then transfer the money into the bank account

Mt. Gox held with Defendant with a designation ofthe user's Mt. Gox account number.Id.\\\.

Finally, Mt. Gox would then transfer the money into the user's Mt. Gox account.

       When a user wished to withdraw money from the exchange, he would submit a request

through his Mt. Gox account. Id. f 19. Mt. Gox would then make a request to Defendant for

processing. Id. The request would include the user's banking details and the amount to be

transferred. Id. Defendant would then transfer the requested amount to the user's bank. Id.

       In 2013, Defendant's relationship with Mt. Gox began to sour. Reports surfaced that U.S.

authorities were investigating Mt. Gox for money laxmdering and so - wishing to avoid

regulatory scrutiny and reputational harm - Defendant asked Mt. Gox's CEO,Mark Kaipeles, to

close Mt. Gox's account with Defendant. Id.     21-23. Karpeles refused. Id. T[ 23. Defendant

responded by implementing policies that would make it difficult for Mt. Gox to do business with

Defendant. Id. f 23. Most notably, in June 2013, Defendant stopped processing international wire

withdrawals for Mt. Gox.Id. ^ 24.

       Defendant's change in policy had near immediate effects on Mt. Gox's users. In June

2013, users began to post online about delays in withdrawing money from their Mt. Gox

accounts.Id. ^ 24. Neither Defendant nor Karpeles disclosed the reason for the delays and

Defendant continued to accept wire transfers from Mt. Gox users. Id. TI26. The backlog of

withdrawal requests continued until February 7,2014, when Karpeles froze users' ability to
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withdraw any bitcoins from Mt. Gox.Id. ^ 32. On February 24, 2014, Mt. Gox's website went

dark. Id. 32. On February 28,2014, Mt. Gox filed for bankruptcy in Japan. Id. f 35.

        Plaintiff, Scott Babiak, is a Virginia citizen who created an account with Mt. Gox in or

around May 2013. M         3,41. After opening his account. Plaintifftransferred his previously

owned bitcoins into it. On August 31, 2013, Plaintiff submitted a withdrawal request to Mt. Gox

for $2,500. Id. T[ 44. Plaintiff designated the funds be deposited in his U.S. bank account. Id. 44.

Plaintiff received an email from Mt. Gox confirming the request. Id. After not receiving any

funds Plaintiff submitted two more withdrawal requests, one on September 1, 2013, and the other

on September 2,2013.Id. 143. Again Plaintiff received confirmation emails but no funds. Id. A

month later, on October 1, 2013, Plaintiff received a message from Mt. Gox customer support

notifying him that all international withdrawals were delayed. Id. ^ 46. Plaintiff received no other

communications from Mt. Gox before the website went dark in February 2014 and never

received the $2,500 he requested.

        Plaintiff alleges Defendant's decision to halt international withdrawals amounts to

tortious interference v^th contract. Plaintiff seeks to certify a class of similarly situated

individuals to pursue this action.

                                         11. Legal Standard

        It is plaintiff's burden to demonstrate personal jurisdiction at every stage after a

defendant raises a challenge under Rule 12(b)(2). Grayson v. Anderson, 816 F. 3d 262,267(4th

Cir. 2016). When the court is considering a personal jurisdiction challenge "by reviewing only

the parties' motion papers, affidavits attached to the motion, supporting legal memoranda, and

the allegations in the complaint" the plaintiff need only make a prima facie showing of personal

jurisdiction. Id. at 268. In examining the 12(b)(2) challenge the court must consider all
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allegations and facts in the light most favorable to the plaintiff. Id.

                                            in. Analysis

        A federal court has personal jurisdiction over a non-resident defendant if(1)the forum

state's long-arm statute authorizes personal jurisdiction over the non-resident defendant, and (2)

personal jurisdiction over the non-resident defendant comports with the due process clause. In

Virginia,"the statutory inquiry merges with the constitutional inquiry" as Virginia's long-arm

statute authorizes personal jurisdiction "to the extent permissible under the constitution."

ConsultingEng'rs Corp. v. Geometric Ltd., 561 F. 3d 273,277(4th Cir. 2009).

        The constitutional analysis for personal jurisdiction requires the defendant to "have

sufficient'minimum contacts' with the forum state such that 'the maintenance ofthe suit does

not offend traditional notions offair play and substantial justice." Id. (quoting Int 7 Shoe Co. v.

Washington, 326 U.S. 310, 316(1945)). These minimum contacts must have been enough so

"that the defendant's conduct and connection with the forum State are such that he should

reasonably anticipate being haled into court there." World-Wide Volkswagen Corp. v. Woodson,

444 U.S. 286,297(1980). The contacts cannot simply be "random,fortuitous, or attenuated,"

Burger King Corp. v. Rudzewicz, 471 U.S. 462,477(1985)(frrst quoting Keeton v. Hustler

Magazine, Inc., 465 U.S. 770,774(1984), then quoting World-Wide Volkswagen Corp.,444 U.S.

at 299), and cannot be the "unilateral activity of another party or a third person." Id.(quoting

HelicopterOS Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408,417(1984)).

        The Fourth Circuit has described the due process inquiry as a three part test in which

courts consider:"(1)the extent to which the defendant 'purposefully avail[ed]' itself ofthe

privilege of conducting activities in the State;(2) whether the plaintiffs' claims arise out ofthose

activities directed at the State; and (3) whether the exercise of personal jurisdiction would be
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constitutionally 'reasonable.'"      Scijw, Inc. v. DigitalServ. Consultants, Inc., 293 F.3d 707,

712(4th Cir. 2002).

   A. Mizuho did not purposefully avail itselfofthe privilege ofconducting activities in
        Virginia.

       The Fourth Circuit has articulated a nonexclusive list offactors that are helpful in

determining whether a non-resident business has availed itself ofthe privilege ofconducting

activities in the forum state. In this analysis the Fourth Circuit considers whether the defendant

business "maintains offices or agents in the forum state;""owns property in the forum state;"

"reached into the forum state to solicit or initiate business;" "deliberately engaged in significant

or long-term business activities in the forum state;" or 'made in-person contact with the resident

ofthe forum in the forum state regarding the business relationship." Perdue Foods LLC v. BRF

S.A., 814 F.3d 185, 189(4th Cir. 2016)(quoting ConsultingEng'rs Corp.,561 F. 3d at 278). The

Fourth Circuit also evaluates "whether the parties contractually agreed that the law ofthe forum

state would govem disputes;""whether the performance of contractual duties was to occur

within the forum;" and "the nature, quality and extent ofthe parties' communications about the

business being transacted." Id.

        Here, Defendant has no offices or agents in Virginia. It does not own property in

Virginia. It did not reach into Virginia to solicit or initiate business. If anything, Virginians

reached out to Defendant to solicit or initiate business by wiring money firom their U.S. banks to

Defendant. Defendant did not deliberately engage in significant or long-term business activities

in Virginia. Instead, all of Defendant's actions took place in Japan. Defendant never made in

person contact with a Virginian regarding Mt. Gox. Defendant never entered into a contract with

a Virginian regarding this matter, much less a contract that specified that contractual duties were

to be performed in Virginia.
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       Finally, the extent ofthe Defendant's contacts with any Virginians were slight. At most, a

Virginian would wire money to Defendant. After that, all interactions were between Defendant

and Mt. Gox. When a user wished to withdraw money, he did not contact Defendant. Instead, he

would make a request to Mt. Gox and then Mt. Gox would make a request for Defendant to wire

funds to the user. None ofthe factors articulated by the Fourth Circuit cut toward this Court

exercising personal jurisdiction in this case.

       To further understand the personaljurisdiction inquiry it is instructive to examine this

case's sister cases: one from the Northern District of Illinois, Greene v. Mizuho Bank, Ltd., 169

F. Supp. 3d 855(N.D. 111. 2016), and one from the Eastern District ofPennsylvania,Pearce v.

Mizuho Bank, Ltd., 2018 WL 4094812(E.D. Pa. Aug. 27, 2018). Both cases arise out ofthe same

facts and make similar allegations against the same Defendant as the present case.

        Greene involved two plaintiffs: Greene and Lack. Greene was an Illinois resident who

traded and sold bitcoins on the Mt. Gox exchange. Greene, 169 F. Supp. at 858. Lack was a

California resident who wired $40,000 to Defendant for Defendant to deposit in Mt. Gox's bank

account(and which would then be transferred to Lack's Mt. Gox account). Id. at 859.

       The Northern District of Illinois held Defendant's interactions with Lack were enough to

establish minimiim contacts. This is because Defendant became aware of Lack's California

address when it received the wire transfer, it accepted the wire transfer, and it earned a service

fee offthe wire transfer. Id. at 861-62. Nonetheless, the court dismissed Lack's complaint

because while it would satisfy personal jurisdiction over Defendant in Lack's home state of

California, it did not satisfy personal jurisdiction over Defendant in Illinois. Id.

        The Northern District of Illinois also dismissed Greene's claim, citing lack of personal

jurisdiction. The court emphasized that there were no allegations that Greene sent wire transfers
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to Defendant and no allegations that Defendant collected any transaction fees off Greene. Id. at

865. Further, the court stated:

   Mizuho had no transactional contacts with Greene ofthe type that it had with Lack; in
   fact it had no transactional contacts with Greene at all. The alleged harm to Greene is
   Mizuho's only contact with Illinois, and that harm is insufficient to establish personal
   jurisdiction, as "mere injury to a forum resident is not a sufficient connection to the
   forum."


Id. (quoting Walden v. Fiore, 571 U.S. 277,290(2014)).

        The Eastern District ofPennsylvania held it had no personal jurisdiction over Defendant

in a case with a plaintiff in a nearly identical factual scenario as Plaintiff in this case. In Pearce,

the plaintiff, Pearce, created a Mt. Gox accoimt and transferred bitcoins into it. Pearce,2018 WL

4094812 at *2. Pearce submitted a withdrawal account to Mt. Gox in the amount of $5,900. Id.

Pearce received a confirmation email from Mt. Gox.Id. Later, never having received the

requested funds, Pearce received an email from Mt. Gox customer support informing him that all

intemational withdrawals were delayed. Id. Pearce attempted to cancel his withdrawal request,

convert the $5,900 back into bitcoin, and withdraw his bitcoin balance from Mt. Gox.Id. This

was unsuccessful and then Mt. Gox went dark. Id.

        In its reasoning, the Eastem District ofPennsylvania emphasized that Defendant did not

deliberately target the forum state. Pearce - as does Plaintiff in this case - argued that Defendant

decided to tortuously interfere with Pearce's contract with Mt. Gox precisely because Pearce was

a resident ofPennsylvania. Id. at *5. Under Pearce's theory. Defendant wished to put pressure on

Mt. Gox to close its account and knew the best way to do that would be to threaten Mt. Gox's

business with American users. Pearce claimed that his Pennsylvania citizenship was critical to

Defendant's actions because it was a proxy for his American citizenship. Therefore, Pearce

argued, Defendant purposely availed itself ofthe forum state because interfering with American
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contracts was its ultimate goal.

       The court was not persuaded by this argument. Importantly, the court emphasized

Defendant "never engaged in any transactional contact with Pearce." Id. Further,"the alleged act

at the heart ofPearce's claim is a negative action. By not fulfilling the withdrawal request,

Mizuho failed to direct any activity at Pennsylvania."Id. For these reasons the court held it

lacked personal jurisdiction.

        Significantly, here Plaintiff does not allege any facts that make his situation more similar

to Lack's,in which the court found there could be personal jurisdiction if the case was brought in

the proper venue. Unlike Lack, Plaintiff did not wire money to Defendant, thereby alerting

Defendant to his existence and citizenship. Instead, Plaintiff, like Pearce and Greene, deposited

previously purchased bitcoins directly into his Mt. Gox account. When Plaintiff wished to

withdraw funds, Mt. Gox requested the v^thdrawal from Defendant on Plaintiff's behalf. Like

Pearce, Plaintiff never had any contacts or transactions directly with Defendant. Although

Plaintiff here attempted three withdrawal requests while Pearce only attempted one,the issue in

Pearce's personal jurisdiction analysis was not the frequency of withdrawal requests. Instead,the

issue was that the action at the heart of the personal jurisdiction inquiry was inaction. This does

not change with the number oftimes Defendant declined to act.

        Therefore here, as has been found in other districts, there is no personal jurisdiction.

Defendant did not purposely avail itself ofthe privilege ofconducting activities in Virginia. In

fact. Defendant conducted no activities in Virginia at all. "[I]t is the defendant, not the plaintiff

or third parties, who must create contacts with the forum State." Walden, 571 U.S. at 291. Here,

Defendant did not create contacts with Virginia. Any contacts with Virginia that arguably exist

are ofPlaintiffs making. Defendant's inaction is insufficient to establish personal jurisdiction.
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   B. Because There Was No Purposeful Availment, the Court Need Not Consider Whether
      Plaintiff's Claims Arise out ofThose Activities Directed at the State or Whether the
      Exercise ofPersonal Jurisdiction Would Be Constitutionally Reasonable.

       The Fourth Circuit has clearly stated,"[i]f, and only if, we find that the plaintiff has

satisfied this first prong ofthe test for specific jurisdiction need we move on to a consideration of

prongs two and three." ConsultingEng'rs Corp., 561 F.3d at 278. As detailed above, here

Plaintiffs claim fails on the first prong. There is no need for the Court to consider prongs two

and three.


                                           m.Conclusion


       For the reasons stated and for good cause shown. Defendant's Motion to Dismiss for

Lack of Jurisdiction is granted. Because the Court lacks jurisdiction it declines to consider

Defendant's Motion to Dismiss for Failure to State a Claim. Plaintiffs claim is dismissed with

prejudice. A separate Order shall issue.




             ^                                                Liam 0"C^dy
September \ 1,2018                                            United St^s District Judge
Alexandria, Virginia
